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September 20, 2017 .

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Adversary Proceeding Nos. l7-8180, 17-8181 and 17-8182
Dear Sir/Madam:

We represent the Plaintiffs in the above referenced adversary proceedings
lnasmuch as service has not been made timely, please reissue the alias summonses so that
we may obtain service and reschedule the pre-hearing conference.

Thank you in advance and please call my office if you have any questions or require
additional information

Sincerely yours,

/s/ Hz'lz‘on Wz'ener
Hilton M. Wiener, Esq.

 

